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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


 Judicial Watch, Inc.,                                 No. 18-cv-154 RBW

                                      Plaintiff,       Hon. Reggie B. Walton
                                                       United States District Judge
                        v.

 U.S. Department of Justice,

                                    Defendant.


      NOTICE OF FBI RECORDS/INFORMATION DISSEMINATION SECTION’S
                    RETURN TO 100% STAFFING POSTURE

       This FOIA case seeks travel records of and communications between former Federal

Bureau of Investigation employees Peter Strzok and Lisa Page. The Court’s December 16, 2020

minute order granted the FBI’s unopposed motion to modify the processing rate in light of the

COVID-19 pandemic’s effect on FBI FOIA operations. The minute order also directed the FBI to

promptly notify the Court as soon as the FBI’s Records/Information Dissemination Section

(RIDS) is able to return to a 100% staffing posture. In accordance with that order, the FBI

respectfully notifies the Court as follows:

       1.      Effective April 12, 2021, RIDS returned to full staffing levels.

       2.      Before the reduction in staffing levels, the Court had ordered the FBI to process

500 pages of potentially responsive records each month and release any responsive, non-exempt

records to plaintiff Judicial Watch, Inc. Minute Order, June 26, 2020. As a result of RIDS’s return

to full staffing levels, the FBI anticipates being able to return to that prior processing rate of 500

pages per month beginning in May 2021.

       3.      Counsel for Judicial Watch has authorized government counsel to represent that

Judicial Watch consents to a return to the prior processing rate of 500 pages per month beginning
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in May 2021.

Dated: April 30, 2021                      Respectfully submitted,

                                           BRIAN M. BOYNTON
                                           Acting Assistant Attorney General

                                           ELIZABETH J. SHAPIRO
                                           Deputy Branch Director

                                            /s/ Garrett Coyle                   .
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